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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
     Case No.      2:19-cv-02137-R-MRW                                             Date   07-12-19
     Title         Matthew Boermeester v. University of Southern California., et al.




     Present: The Honorable       R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
                Christine Chung                             Not Reported                             N/A
                 Deputy Clerk                         Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiff:                        Attorneys Present for Defendants:
                         Not Present                                              Not Present
     Proceedings:             (IN CHAMBERS) Order Re: Defendants’ Motion to Dismiss Plaintiff’s
                              Complaint, or in the Alternative, Special Motion to Strike the Fourth,
                              Fifth, Sixth and Seventh Claims for Relief (DE 21)


I.           INTRODUCTION

        On March 21, 2019, Plaintiff Matthew Boermeester (“Plaintiff”) filed a Complaint asserting
causes of action for (1) Title IX—erroneous outcome, (2) Title IX—selective enforcement, (3) 14th
Amendment procedural due process, (4) breach of contract, (5) promissory estoppel, (6) negligence, and
(7) intentional infliction of emotional distress against Defendants University of Southern California,
Gretchen Dahlinger Means, and Dr. Ainsley Carry (collectively, “Defendants”).

       Presently before the Court is Defendant’s Motion to Dismiss under Federal Rule of Civil
Procedure 12(b)(6). For the following reasons, the Court DENIES the Motion and ORDERS that this
case be stayed.

II.          Factual Background

        The facts alleged are as follows. In January 2017, University of Southern California’s (“USC”)
Men’s Tennis Coach reported an incident between Plaintiff and Zoe Katz (“Katz”), a senior at USC.
Defendants allege that on the night of January 21, 2017, Plaintiff and Katz were returning to Katz’s off-
campus residence, when another student saw Plaintiff put his hands around Katz’s neck and shove her
into a wall. When the incident was reported to USC’s Title IX office, USC began an investigation and
temporarily suspended Plaintiff from campus, classes, and all USC activities. Plaintiff and Katz both
repeatedly denied that any intimate partner violence had occurred and said they were simply joking
around in an intimate manner at the time of the alleged incident. USC investigated the incident and
expelled Plaintiff in 2017.

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       Plaintiff filed a Verified Petition for Writ of Mandamus (the “Petition”) in state court on August
11, 2017, which was denied and is currently under appeal. Plaintiff then filed an action with this Court
on March 21, 2019, seeking damages and injunctive relief based on the above seven claims.

III.       JUDICIAL STANDARD

        District courts have the inherent power to stay proceedings. Landis v. N. Am. Co., 299 U.S. 248,
254 (1936). In determining whether to issue a stay, the Court must weigh certain “competing interests,”
including harm that may result from a stay, hardship that may result from requiring the parties to go
forward, and the orderly course of justice. Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir.
2005). “The existence of another proceeding that may have a substantial impact on a pending case is a
particularly compelling reason to grant a stay.” Doyle v. OneWest Bank, N.A., 2015 WL 4605776, at *3
(C.D. Cal. May 21, 2015).

IV.        DISCUSSION

        Defendants argue that the Court should dismiss all seven of Plaintiff’s claims under three
theories: (1) Plaintiff’s appeal of his state court Petition is still pending, and, therefore, he has not
exhausted his judicial remedies; (2) Plaintiff failed to state facts sufficient to constitute legally
cognizable claims; and (3) the Court should dismiss Plaintiff’s third claim for relief because Plaintiff
cannot establish that Defendants engaged in state action (an essential element of that claim).
Additionally, Defendants contend that the Court should strike Plaintiff’s fourth, fifth, sixth, and seventh
claims for relief pursuant to Section 425.16 of California Code of Civil Procedure (anti-SLAPP statue).
Plaintiff disputes each of Defendants’ arguments to dismiss or strike his claims and additionally argues
that this case should be stayed pending the state appellate court’s decision on his Petition, since
otherwise he would be barred from refiling by the applicable statute of limitations.

       The Court finds that a stay is appropriate in this case given that the statute of limitations would
otherwise bar Plaintiff from bringing this action, and because resolution of the state court proceeding
concerning the Petition may have a substantial impact on this case. Accordingly, the Court declines to
consider Defendants’ arguments to dismiss or strike Plaintiff’s claims at this time.

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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

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V.           CONCLUSION

       For the foregoing reasons, the Court DENIES Defendants’ Motion to Dismiss (DE 21) and
ORDERS that this case be stayed pending the state appellate court’s decision on Plaintiff’s Petition for
Writ of Mandamus.

             IT IS SO ORDERED.

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